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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                             WACO DIVISION

MATCH GROUP, LLC                   §
                                   §
                                   §
     Plaintiff,                    §
                                   §      No. 6:18-cv-00080-ADA-JCM
v.                                 §
                                   §
BUMBLE TRADING INC.                §      JURY TRIAL DEMANDED
                                   §
     Defendant.                    §
                                   §
                                   §


     PLAINTIFF MATCH GROUP, LLC’S RESPONSE TO DEFENDANT’S
          MOTION TO DISMISS FIRST AMENDED COMPLAINT
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I.     INTRODUCTION

       Tinder, a mobile and web-based online dating application owned by Plaintiff Match

Group, LLC (“Match”), is one of the most popular applications in the world. When released in

2012, the Tinder app revolutionized the world of online dating and created a cultural

phenomenon. Match Group has worked to protect the innovations embodied by its flagship

application.

       Bumble Trading Inc. (“Bumble”) was founded by three former Tinder executives. Rather

than innovate, these executives released an app that has been described as “virtually identical” to

Tinder. Match filed this lawsuit because it should not have to continue to compete against its

own ideas and inventions.

       The Court should deny Bumble’s motion. The claims of the ’023 and ’811 Patents

(attached as Exhibits A and B) are directed to an improved user interface, not an abstract idea.

Further, Match’s trade-secret claim is based on Bumble’s theft of a concept that had significant

economic value and is not time-barred. This case should proceed to discovery and to trial.1

II.    THE ASSERTED UTILITY PATENTS RECITE PATENT-ELIGIBLE SUBJECT
       MATTER.

       The claims of the ’023 and ’811 Patents reflect inventive insights from entrepreneurs

developing a computer-based system and discovering the best way to implement that system.

Unlike the many “aspirational” software-based patents that courts have invalidated in the wake

of the Supreme Court’s Alice decision, see Move, Inc. v. Real Estate All. Ltd., 721 F. App’x 950,

954 (Fed. Cir. 2018), these claims recite a specific physical and visual interface protocol that

improves user experience in matchmaking apps, facilitates faster decision-making, and thereby


1
 Despite Bumble’s claim, made in a retaliatory lawsuit it filed in Texas state court, that Match’s
entire case is “frivolous,” Bumble’s motion seeks dismissal of only three of Match’s nine causes
of action. The lion’s share of this case will remain regardless of the Court’s decision here.

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drives user engagement. Ex. C, Data Engines Techs. LLC v. Google LLC, 2017-1135 (Fed. Cir.

Oct. 9, 2018), Slip Op. at 13 (holding claims reciting “highly intuitive, user-friendly interface

with familiar notebook tabs” non-abstract). Indeed, far from seeking a patent on an aspiration,

the inventors of these patents built their ideas into Tinder, which is now a multi-billion-dollar

brand. For the reasons described below, these claims recite eligible subject matter.

       A.      The Asserted ’023 and ’811 Patents Embody Tinder’s Innovative
               Development.

       Match.com, another brand owned by Match Group, pioneered online dating beginning in

1995. In 2007, well before Tinder was conceived, three Match.com employees came up with

new ideas related to matchmaking services. In December 2007, Match.com filed a provisional

application on these ideas, disclosing two primary innovations: (1) importing information from

social networks into the system, e.g., to increase the ease of signing up for service; and (2)

calculating a “score” for users based on various considerations and improving search results by

taking those scores into account. See Ex. D, 2007 Provisional at 32:23-25; 39:30-40:4. The

2007 application also disclosed other improvements. It described receiving “positive” and

“negative” “preferences” concerning users and taking those “preferences” into account when

showing search results, see Ex. D at 36:10-25 (describing algorithm considering whether “Match

result entity has expressed a preference for the user); id. at 37:13-18 (describing removing

entities for which user has expressed negatives preferences). This application ultimately became

U.S. Patent No. 8,566,327 (not asserted in this case). See Ex. E, ’327 Patent.

       In 2012, Tinder was born. With its double-blind mutual opt-in system, performed on a

specific, draggable-card-based user interface, Tinder changed the online-dating world forever.

The Tinder app has been described as “famous,” “brilliant,” and “iconic.” FAC ¶¶ 28, 33, 45.

After it was released, Tinder sought patent protection for these groundbreaking innovations.


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          Tinder is affiliated with Match.com. Because the Tinder app used innovations from the

provisional application, and because Match.com and Tinder were affiliates, Match prosecuted the

Tinder innovations as a continuation-in-part (“CIP”) of the Match.com application. While

claims of the CIP include innovations from the 2007 application, the claims are directed to new

material.2 See X2Y Attenuators, LLC v. Int’l Trade Comm’n, 757 F.3d 1358, 1366 (Fed. Cir.

2014) (“[S]ome subject matter of a CIP application is necessarily different . . . .”).

          The CIP portions of the specification focus on improving prior art matchmaking systems

in two relevant ways: (1) not allowing communication unless and until both sides have indicated

a mutual positive preference; (2) a card-based interface characterized in part by a specific

gesture, labeled in the patents as a “swipe.” 3 See, e.g., ‘811 Patent at 22:57-60; id. at 21:54-

22:22:1. Exemplary embodiments are shown in Figs. 8 and 10:




2
    In fact, in prosecution, one of the inventors swore behind 2012 prior art. This highlights that the

asserted claims are directed to innovations disclosed in the new material. Ex. F at 93-97.

3
  Because Tinder pioneered the use of this gesture in connection with dating applications, Tinder’s
name for the gesture also came to be uniquely associated with Tinder; it is now a registered
trademark in the dating-app context. To avoid confusion between use of the SWIPE trademark
and the gesture claimed in the patents, this brief, when not quoting from the patents, refers to the
relevant gesture as a “dragging gesture.”


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       The claims of the ’811 and ’023 Patents all require the use of the dragging gesture.

The ’811 Patent’s claims also all require the system to “prevent communication” between users

unless two users mutually expressed positive preferences.

       The ’811 Patent issued on August 15, 2017. The ’023 Patent issued on May 1, 2018. In

each case, the Patent Office had the guidance of the Supreme Court’s 2014 Alice decision and a

significant body of Federal Circuit case law interpreting that decision. The ’023 Patent also

expressly overcame a subject-matter-eligibility rejection before issuance. See Ex. G at 87-94

(rejecting prior versions of claims under Section 101).

       B.      The Court Applies the Two-Step Alice Process to Evaluate Subject Matter
               Eligibility on a Motion to Dismiss.

       The Court evaluates subject matter eligibility via a two-step process. Alice, 134 S. Ct. at

2355. The first is determining whether the claims are directed to a patent-ineligible concept like

an abstract idea. Id. If the claims are not directed to an ineligible concept, the inquiry ends—the

claims are eligible. Enfish, LLC v. Microsoft Corp., 822 F.3d 1327, 1339 (Fed. Cir. 2016). If the

Court believes that the claims are “directed to” an ineligible concept like an abstract idea, it

moves onto the second step. In that part of the analysis, the Court considers whether the claim’s

limitations, alone or as an ordered combination, contain an “inventive concept” applied to the

identified idea to which the claims are directed—i.e., whether the claims contain “something

more” than what was routine or conventional in the industry at the time of the invention. Alice,

134 S. Ct. at 2355. If so, the claims are eligible.

       Determining subject matter eligibility can call for a number of factual determinations in

both steps of the analysis. Data Engines, Slip Op. at 14 (relying on newspaper articles at step 1);

Aatrix Software, Inc. v. Green Shades Software, Inc., 882 F.3d 1121, 1128 (Fed. Cir. 2018)

(“Aatrix Software I”) (describing procedure for evaluating pleadings at step 2). To support a


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finding of invalidity, a defendant has the burden to establish all facts “pertinent” to the analysis

by clear and convincing evidence. Berkheimer v. HP Inc., 881 F.3d 1360, 1368 (Fed. Cir. 2018).

On a motion to dismiss, the defendant must discharge that burden using only the allegations in

the complaint and evidence capable of judicial notice. Aatrix Software I, 882 F.3d at 1128.

        C.      The ’023 Patent’s Claims Are Subject Matter Eligible.

                1. The ’023 Patent’s Claims Are Directed to an Improved Matchmaking User
                   Interface, Not an Abstract Idea.

        Determining whether a claim is directed to an abstract idea is a “meaningful” step.

Enfish, 822 F.3d at 1335. It is not sufficient that that claims “involve” an abstract idea because

“all inventions at some level embody, use, reflect, rest upon, or apply laws of nature, natural

phenomena, or abstract ideas.” Id. (quoting Mayo Collaborative Servs. v. Prometheus Labs.,

Inc., 566 U.S. 66, 71 (2012)). A claim directed to a computer-device improvement, rather than

an “abstract idea” that invokes computers “merely as a tool,” is patent eligible. Core Wireless

Licensing S.A.R.L. v. LG Elecs., Inc., 880 F.3d 1356, 1362 (Fed. Cir. 2018). To make this

determination, courts typically look to the claims as well as the intrinsic evidence, including

prosecution history. See, e.g., id. at 1362-63; Data Engines, Slip Op. at 14 n.2.

        The claims of the ’023 Patent recite “an interface” that presents a “graphical

representation of [a first online dating profile] as a first card in a stack of cards,” with a processor

to “detect a gesture,” the gesture “corresponding to a positive preference indication,” and where

the system can detect a “right swiping direction” associated with the positive gesture. See, e.g.,

Claim 3. In response to detecting the gesture, the interface automatically both presents a second

graphical representation of a profile and removes the first. Id.

        These claims are clearly directed to a non-abstract improvement in user interface

technology for particular use in a matchmaking app. The claimed inventions provide an easy-to-


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navigate system that both allows and encourages users to make more efficient binary preference

choices in using computer-based dating systems. FAC ¶¶ 102-106; 124-128. By use of this

specific physical and visual interface protocol, it also requires users to make those choices before

moving on, rather than deferring those choices—a protocol that promotes speed of decision-

making and drives user engagement by facilitating more matches. This is not abstract. See

Trading Techs. Int’l, Inc. v. CQG, Inc., 675 F. App’x 1001, 1005 (Fed. Cir. 2017) (“Abstraction

is avoided or overcome when a proposed new application or computer-implemented function is

not simply the generalized use of a computer as a tool to conduct a known or obvious process,

but instead is an improvement to the capability of the system as a whole.”).

       The Federal Circuit has repeatedly confirmed that concrete improvements to user

interfaces recite patent-eligible computer improvements. For example, in Core Wireless—a case

notably absent from Bumble’s brief—the Federal Circuit addressed a claim related to a menu

display. 88 F.3d 1356. The menu included an “application summary” that could be reached

“directly from the menu” containing data from one or more applications. Id. at 1359. The

application summary menu could then be used to launch the application and “enable the selected

data to be seen” within the application. Id.

       The inventors of the Core Wireless patent did not invent “menus.” They did not invent

summaries, applications, launching applications, data, or summarizing data. Nevertheless, the

Federal Circuit concluded that the claims were subject matter eligible at step one because this

combination of elements claimed “an improved user interface for electronic devices, particularly

those with small screens.” Id. at 1362. Although the claims could be easily characterized as

directed to the concept of an “application data summary menu” reachable from a main menu, this

was not an ineligible idea because it was not abstract. Instead, it solved interface-based



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problems. Prior interfaces could “seem slow, complex and difficult to learn,” as users would

have to “drill down through many layers to get to desired data” and would be required to “scroll

around and switch views” to find what they needed. Id. at 1363. The claimed menu, in contrast,

improved “the speed of a user’s navigation through various views and windows” by disclosing a

“specific manner of displaying a limited set of information to the user.” Id.

       The Federal Circuit also found a user interface claim eligible at step 1 in Trading

Technologies, 675 F. App’x 1001. The claims at issue there recited “a method for displaying

market information” related to commodity trading. Specifically, the claims recited an interface

that displayed dynamic quantity bid and ask information alongside static pricing information so

traders could better trade commodities more quickly, while ensuring that their trades were made

at their preferred price. Id. at 1003. Again, the inventors did not invent static pricing, dynamic

quantities, bid prices, or ask prices. But the interface was a claimed improvement upon prior art

modes, where, on prior interfaces, a price could change based on changing market conditions

while the trade was being executed. Id. at 1006.

       Two days ago, the Federal Circuit reiterated these principles in Data Engine

Technologies v. Google, concluding that an improvement in spreadsheet interfaces was directed

to eligible subject matter. The eligible inventions recited the addition of “notebook tabs” to

existing three-dimensional spreadsheet interfaces to navigate between pages. Slip Op. at 7-8.

Despite the facts that three-dimensional spreadsheets preexisted the claimed inventions and

“humans [had] long used tabs to organize information,” Slip Op. at 20, the Federal Circuit held

that the representative claim recited a patentable improvement to user interface technology.

Specifically, it solved problems in existing interface technology by providing a “highly intuitive,

user-friendly interface with familiar notebook tabs for navigating the three-dimensional work-



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sheet environment,” Slip Op. at 13, and was therefore patent eligible. In fact, the notebook tab

improvement solved computer-based problems specifically because “it include[d] user-familiar

objects, i.e., paradigms of real-world objects which the user already knows.” Slip Op. at 4.

       The claims of the ’023 Patent are indistinguishable from the claims in Core Wireless,

Trading Technologies, and Data Engine. Like those eligible patent claims, the claims here are

directed to a new user interface—in this case, for a dating application. See, e.g., Claim 1

(reciting a “method of navigating a user interface”); Claim 3 (reciting “a system,” comprising

“an interface” presenting graphics in a particular way). The application is characterized by a

“stack of cards,” that are “graphical representations of [] online dating profile[s],” and user

preferences regarding those cards are detected by virtue of a “gesture,” where the “positive

preference” gesture is determined by “detecting a right swiping direction.” When a user

performs the gesture, the interface is modified to both show a new item of information and to

automatically remove the first. These innovations improve existing interface technology.

       For example, rather than the user viewing potential matches through a scrollable list of

potential matches, the claimed interface provides the graphical representation as a “first card” “in

a stack.” The expression of preferences via a “gesture” that is observed by detecting a “right

swiping direction”—combined with removal of the first card and display of another card in

response to detecting the gesture—improves existing interface technology to increase “the speed

of a user’s navigation through [potential matches].” Core Wireless, 880 F.3d 1363; FAC at ¶¶

103-105; 125-128. As in Core Wireless, these advantages over prior user interfaces are

particularly advantageous in small screen or mobile devices, where scroll-based interfaces can be

difficult to navigate. Moreover, like Data Engine, the claims’ recitation of a stack of cards and

acting on those cards in a particular way facilitates ease of use by “including user-familiar



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objects . . . which the user already knows how to use.” Data Engine, Slip Op. at 4.4 These

claims recite eligible inventions.

       Bumble fails to establish otherwise. Bumble contends that the claims are directed to the

idea of “looking through a stack of dating match profile cards one at a time and expressing

interest in a match by moving a card to the right,” as applied on a computer, using computers

“merely as a tool.” Dkt. No. 23 at 13-14. For several reasons, this is wrong.

       First, Bumble’s arguments are flawed because the “directed to” inquiry is more than

simply finding a catch-phrase with which to describe concepts in the claims. To show

ineligibility, “[i]t is not enough . . . to merely trace the invention to some real-world analogy.”

Data Engine, Slip Op. at 20. Yet that is all Bumble attempts to do here. It makes no sense to say

the claims are “directed to” moving a card to the right when that idea has no independent utility

outside of the technological field. The general concept of a stack of cards, with specific

additional limitations omitted by Bumble’s hypothetical idea, is applied in a particular way. See

id. at 4 (application of notebook tabs concept to spreadsheets non-abstract).

       This formulation of the alleged idea also fails to capture critical limitations of the claims

and ignores the inventive context. For one, the claims do not recite “moving a card to the right.”

The claims recite a “gesture,” where a “right swiping direction” must be associated with the

“gesture.” The specification also describes the relevant “gesture” as a “touch input” performed

“by moving a finger or other suitable object across the screen.” ’023 Patent at 19:35-3; 19:35-

39; 21:66-22:3. This physical interaction is narrower than picking up a card and setting it off to




4
  There is also no legitimate dispute that these improvements are recited in the claims. See
Berkheimer v. HP Inc., 881 F.3d 1360, 1370 (Fed. Cir. 2018) (distinguishing between benefits
achieved by limitations in the claims and benefits merely described in the specification).

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the side, is native to the claims’ technology, and—in the context of the claimed system—

facilitates more efficient decision-making. The claims further require automatically displaying a

second profile graphic and automatically removing the first in response to the gesture. Again,

this is narrower than simply looking one-at-a-time through physical cards because the claimed

interface is designed to limit the ability to reconsider preference indications and accelerate

moving on to new ones. This improved style of interface drives user engagement and facilitates

more matches by allowing quick preference indications and precluding deferred ones.

       Bumble’s argument also assumes that anything that could be performed by a human is

abstract. But the Federal Circuit has rejected this contention. “[P]rocesses that automate tasks

that humans are capable of performing are patent eligible if properly claimed.” McRO, Inc. v.

Bandai Namco Games Am., Inc., 837 F.3d 1299, 1313 (Fed. Cir. 2016). A librarian could show a

patron a summary of data from other sources and then, upon request, take the patron to the

sources themselves. Cf. Core Wireless, 880 F.3d at 1362-63. A commodities broker could, with

a pencil and paper, calculate bid prices, ask prices, and various quantities and display them in a

manner in which the broker changed the quantities but did not change the prices. Cf. Trading

Techs., 675 F. App’x at 1003. An animator could use rules rather than subjective considerations

to lip sync animations. Cf. McRO, Inc., 837 F.3d at 1313. And a matchmaker could give a client

a stack of cards with potential matches, require the client to move his finger across the cards one

at a time, and immediately remove a card after it had been dragged to the right. But why? There

is no evidence that this has been done; doing so would also not serve a purpose. See McRO, 837

F.3d at 1314 (“Defendants provided no evidence that the process previously used by animators is

the same as the process required by the claims.”). Meanwhile, in a computer-based

matchmaking environment, the claimed invention has specific tangible benefits.



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       Bumble also contends that these claims must be directed to an abstraction rather than

improved interface technology because the specification does not expressly describe a

“technological problem” to which it proposes a solution. This is a red herring. While express

recitations of computer-specific benefits in the specification exist in some eligibility cases, they

are not required. And the intrinsic record of the ’023 Patent is just as compelling as an express

acknowledgement that the claims are directed to the above-mentioned benefits.

       As discussed above, Match.com filed a 2007 provisional application disclosing a

particular matchmaking system. Those inventions and evaluation of their subject matter

eligibility are not at issue in this case. In 2012, the Tinder inventors created the groundbreaking

Tinder app and filed an application for innovations underlying it. They added new material to

improve upon the preexisting Match.com system concepts, including by improving the interface

with the draggable stack of cards embodiment, which is claimed in every claim of the ’023

Patent. These improvements are not routine or conventional limitations “added post-hoc to a

fundamental practice.” Enfish, 822 F.3d at 1340. They were specific improvements built into

and embodied by an extremely successful commercial application. Further, these additions are

significant distinctions over the prior art. Indeed, after previously rejecting the claims for subject

matter eligibility reasons, the Examiner expressly concluded in its “reasons for allowance” that

the “closest cited references” failed to teach “detecting a right swiping direction” and

“automatically presenting a graphical representing [sic] of a second dating profile . . . in response

to detecting the [right swiping] gesture . . . as well as the previous intervening limitations in

order to remove irrelevant entities to the searcher. . . .” Ex. G at 16-17; see also, e.g. Data

Engine, Slip Op. at 13 (looking at claims in view of prior art). The specification need not discuss

each of every benefit flowing from this new matter because the purpose of the specification is to



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“teach and enable those of skill in the art to make and use the invention,” Phillips, 415 F.3d at

1323, not to describe all benefits flowing from it. The prosecution history itself confirms the

’023 Patent is directed to that new interface and related interaction, not an abstraction related to a

system of matchmaking.

       Finally, Bumble complains that the patent fails to identify “‘a particular way of

programming or designing the software’ to perform the recited claims.” Dkt. No. 23 at 16

(quoting Apple, Inc. v. Ameranth, Inc., 842 F.3d 1229, 1241 (Fed. Cir. 2016)). This argument is

also meritless. These claims do not simply describe “a result.” See Finjan, Inc. v. Blue Coat

Sys., Inc., 879 F.3d 1299, 1305 (Fed. Cir. 2018) (describing Ameranth decision as meaning only

that “a result, even an innovative result, is not itself patentable”). The claims provide a way of

reaching the desired result of an improved interface and user experience. As just one example,

they recite a tangible improvement over search and scroll-based matchmaking interfaces similar

to the one disclosed in the 2007 Match.com application. See, e.g., Ex. D at Figs. 1E, 1F.

       The claims of the ’023 Patent recite concrete improvements to existing graphical user

interfaces in dating applications.5 They are non-abstract and thus patent eligible.

               2. Bumble Has Failed to Establish the Lack of an Inventive Concept.

       To the extent the Court believes the claims are directed only to the idea of “looking

through a stack of dating match profile cards one at a time and expressing interest in a match by

moving a card to the right,” and that this idea is within the realm of the abstract, the Court should

nevertheless deny Bumble’s motion. Even inventions “directed to” abstract ideas are patent



5
  To give the appearance that any patent related to matchmaking is necessarily invalid, Bumble
makes a passing reference to a few cases related to the “abstractness” of “matchmaking.” See Dkt.
No. 23 at 6 n.5. None of these cases address interface improvements. Instead, these cases address
claims that recite only controlled exchange of information and generic analysis of that information
on a computer.
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eligible if the claims contain limitations on any abstraction that “involve more than the

performance of well-understood, routine, and conventional activities previously known to the

industry.” Aatrix I, 882 F.3d at 1128 (quotations and citations omitted). Unless contradicted by

the patent specification itself, the Court must accept any factual allegations about the non-

conventionality of a limitation or combination of limitations as true. Aatrix I, 882 F.3d at 1125;

Aatrix Software, Inc. v. Green Shades Software, Inc., 890 F.3d 1354, 1356 (Fed. Cir. 2018)

(“Aatrix II”) (Moore, J., concurring in denial of petition for rehearing en banc, joined by Dyk., J.,

O’Malley, J., Taranto, J., and Stoll, J.,) (reasoning that a pleading-based dismissal is appropriate

only where specification admits that an alleged inventive concept was conventional).

       As discussed above, the patent claims include limitations beyond Bumble’s posited idea.

The card has to be “automatically removed,” not simply set off to the side. The preference has to

be one detected by a “gesture” in the “right swiping direction”—which the specification makes

clear is associated with touch screens—not simply by a move to the right. And in the dependent

claims, the claims specifically recite that the user must perform an action on the first profile

before he or she can move through the rest. This combination of limitations improves on

existing dating interface technology by allowing and encouraging “users to sift through more

information, more quickly than previous interfaces addressing similar binary choice decisions”

and thereby “revolutionized the world of online dating.” FAC ¶104. The claims limit second-

guessing and foster quick decision-making, which drives user engagement and improves the

system. As pleaded in the FAC, these improvements were non-conventional and non-routine at

the time of the invention, id. at ¶¶ 103-05—as Tinder’s (and Bumble’s) subsequent astonishing

success confirms. If the Court even proceeds to step 2 (which it should not), these factual

allegations end the Court’s inquiry.



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       Bumble asks the Court to ignore established precedent in favor of its own proposed

standard. Specifically, Bumble advocates for a retroactive requirement that, unless a computer-

related invention expressly describes the problems, solutions, and computer-based benefits in its

specification, it must be dismissed on the pleadings—regardless of whether those problems,

solutions, and computer-based benefits exist. No such requirement exists. On a motion to

dismiss, the Court is required to take all facts pleaded as true and make reasonable inferences in

Match’s favor. It is Bumble’s burden here to contradict as a matter of law the pleaded facts.

This can occur only where the specification admits that an alleged combination is merely routine.

Aatrix II, 890 F.3d at 1356. Where the specification is silent about the inventiveness of a

limitation or combination of limitations, the Court must credit the Complaint’s well-pleaded

facts. Id. Nothing in the ’023 specification here admits that an interface in which a user

expresses preferences via a dragging gesture on a card that is removed and replaced after the

gesture is detected was routine or conventional matchmaking interface technology.

       Bumble also contends that the claims cannot contain an inventive concept because

“swiping” was “known” in the prior art. This fails on two accounts. First, “[t]he inventive

concept inquiry requires more than recognizing that each claim element, by itself, was known in

the art.” Bascom Glob. Internet Servs., Inc. v. AT&T Mobility LLC, 827 F.3d 1341, 1350 (Fed.

Cir. 2016). Second, it is not enough to point out that some particular gesture may have existed

on some screen in some piece of prior art. See Berkheimer, 881 F.3d at 1369 (“Whether a

particular technology is well-understood, routine, and conventional goes beyond what was

simply known in the prior art.”). Regardless of whether software detected similar gestures on

touch screens, Bumble offers no evidence whatsoever that the ordered combination of limitations

which distinguishes the claimed invention existed in the prior art at all, much less that the



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limitations or their combination is used in only a routine and conventional manner. Nor could it.

The claims involve more than a dragging gesture and more than moving cards to express

preferences; they recite specific physical and visual interactions with a matchmaking user

interface. To the extent the claims are directed to Bumble’s posited “idea,” they nevertheless

improve existing interface technology for the reasons already described.6

        D.      The ’811 Patent’s Claims Are Subject Matter Eligible.

                1.   The ’811 Patent Claims Are Directed to an Improved Matchmaking User
                     Interface, Not an Abstract Idea.

        The ’811 Patent is eligible for many of the same reasons as the ’023 Patent. Like the

’023 Patent, it describes a system employing an interface with graphical representations of online

dating profiles.7 It describes indicating preferences by use of a “swiping gesture.” It describes

removing one profile and showing another profile after receiving a gesture. See, e.g., Claim 7

(“[A]utomatically cause the interface to remove the presentation of the first potential match . . .

and cause the interface to present . . . a second potential match . . . .”). It thus recites non-

abstract subject matter in much the same manner as the ’023 Patent. The ’811 Patent in fact

describes narrower functionality and more specifics about the flow of the improved interface and

system. For example, the Patent recites that a removed profile will reappear in response to a



6
  The Federal Circuit’s decision in Move, Inc. v. Real Estate Alliance Ltd., 721 F. App’x 950 (Fed.
Cir. 2018) does not support Bumble’s analysis. The patentee there alleged that a “zoom feature”
was an inventive concept in claims directed to the idea of collecting and organizing information
about available real estate properties and displaying the information on a map. Id. at 957. But the
zoom feature was merely an aspirational result; nothing about the feature was described, and the
notion of getting closer to or further away from something is anything but computer-specific. The
claims here are not of the aspirational, results-based type.
7
  Unlike the ’023 Patent, the ’811 Patent does not require the graphical representations to be “cards.”
The claims also do not require the “swiping gesture” be in the “right-swiping direction.” Instead,
the claims recite that “swiping gesture[s]” corresponding to positive and negative preferences must
be different from one another. The claims are broader in this respect but narrower in others.
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determination to “enable communication”—which occurs only after both users corresponding to

the profiles have expressed a positive preference. See Claim 7. This is a specific arrangement of

screens and information, engaged with in a particular way, to make a better computer-based

matchmaking system—a system that has been immensely successful.

       Other than coining a different purported “abstract idea” to which the claims are allegedly

directed, Bumble makes identical arguments addressing the ’811 Patent as it does the ’023

Patent. Those arguments fail for the same reasons.

       Bumble’s arguments against the ’811 Patent fail for an additional reason as well. Bumble

contends that the claims of the ’811 Patent are “directed to” the idea of “connecting people with

potential matches based on their mutual attraction to each other or not connecting them in the

absence of mutual attraction.” Dkt. No. 23 at 6. Although the claims plainly involve that idea at

a general level, they are not directed to it. In fact, Bumble’s highly generalized proposed idea

was discussed and disclosed in the 2007 Match.com application. See Ex. C at 36:10-25. Given

the claims here include the new CIP material, the claims are necessarily directed to something

more or different than this highly generalized mischaracterization. For the same reasons that the

’023 Patent is directed to an improved draggable one-at-a-time matchmaking interface that

enables and encourages users to make binary choices more quickly, the ’811 Patent recites an

improved matchmaking system, implemented via an improved matchmaking interface.8




8
  The ’811 Patent also describes another specific technological improvement to a known system: a
way of avoiding unwanted communications. In prior systems, users could have a “large number
of unwanted communication requests [that] can become a nuisance to the user.” ’811 Patent at
1:56-62. The specification solves this problem by allowing “initial communication” only between
two users who mutually expressed a preference for one another and “prevent[ing] communication”
if not. This would allow users to “avoid browsing, deleting, or responding to unwanted messages.”
Id. at 2:58-60. See Trading Techs. 675 F. App’x at 1005.
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                2. Bumble Fails to Establish the Lack of an Inventive Concept in the ’811 Patent.

        If the Court accepts Bumble’s arguments about what the claims of the ’811 Patent are

“directed to,” there is nevertheless an inventive concept in the ’811 claims as well. The

limitations concerning the draggable interface also exist in the ’811 claims, including where

profiles are removed and replaced once a gesture is performed. Match’s Complaint alleges that

these limitations provide computer-based improvements. FAC ¶¶ 102-106; 124-128. Nothing in

the specification concedes or even suggests the conventionality of these improvements; they

were anything but conventional. At most, the specification highlights that this interface is a

computer interface. That does not prove ineligibility.

        E.      Neither the ’023 Patent Nor the ’811 Patent Present Any Significant
                Preemption Concerns.

        Bumble also contends that these patents “monopolize” the “practice of connecting people

with potential matches based on mutual attraction or not connecting them in the absence of

mutual attraction.” Dkt. No. 23 at 1. This is also not true. The claims recite a specific visual

and physical improvement of a user interface. There remain many other computer-based ways to

connect people based on mutual attraction: scroll-based systems, grid-based systems, card-based

systems that utilize buttons, non-dragging-gesture-based systems, and the list goes on. Tinder

invented a specific matchmaking system and interface. The patent system is designed to reward

innovations just like that.

III.    THE COURT SHOULD DENY BUMBLE’S MOTION TO DISMISS MATCH’S
        TRADE SECRETS CLAIM.

        The Court should also deny the trade secrets portion of Bumble’s motion. First, Match

has adequately alleged the misappropriated idea’s economic value. Second, Bumble has failed to

establish a statute of limitations defense.



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       A.      Bumble Misappropriated a Trade Secret that Derived Economic Value from
               Being Secret.

       Bumble unabashedly took a design concept developed in-house at Tinder and released it

for its own product; that is not debatable. This stolen idea had economic value to Match.

       Bumble seeks dismissal based on a badly flawed understanding of trade secrets law.

Bumble argues that the identified business concept it stole could not derive value from being a

secret because, if implemented, it would not have been one. Bumble is wrong. Confidential,

non-marketed design concepts are protectable trade secrets. See 1 Roger M. Milgrim, Milgrim

on Trade Secrets § 1.05[4], at 1–228 (2002) (“Until disclosed by sale the trade secret should be

entitled to protection”). Indeed, in Learning Curve Toys, Inc. v. PlayWood Toys, Inc., 342 F.3d

714, 729 (7th Cir. 2003), the Seventh Circuit reversed a district court for granting relief

essentially equivalent to what Bumble requests here. Although the district court concluded that

“had [plaintiff] succeeded in producing . . . the [concept], the appearance of the [product] would

have fully revealed [it],” the Seventh Circuit rejected this rationale. “The district court was

correct in one sense,” the Seventh Court reasoned, “the [concept] could have been reverse

engineered just by looking at it. However, the district court failed to appreciate the fact that

[plaintiff’s] concept was not publicly available.” Id. (emphasis added).

       Businesses like Match expend significant resources in brainstorming ideas. Even if not

implemented, these business concepts derive economic value from not being known because that

lack of knowledge forces competitors to expend their own resources to independently conceive

their own ideas. Moreover, absent misappropriation, there is value from secrecy because the

idea itself is more valuable absent unauthorized disclosure. Unless the idea is independently

developed, the secret plan would obtain the well-known first-mover advantage even if

implemented later. See Teva Pharm. USA, Inc. v. Sebelius, 595 F.3d 1303, 1311 (D.C. Cir.


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2010) (“first mover advantage is a valuable asset”). In other words, had Tinder’s “rewind”

release failed, it could have implemented a feature like “backtrack” and still been the first-mover

innovator.9 Yet Bumble released the misappropriated design 8 days after Tinder rolled out its

different-but-related feature, giving Tinder essentially no opportunity to change course while still

being first to market. Compare Ex. H (March 2, 2015 date for “rewind”) with Dkt. No. 23-1

(March 11, 2015 date for “backtrack”).

       B.      Bumble Has Failed to Establish a Limitations Defense.

       Bumble has an even higher burden on its limitations-based arguments. Time-bar is an

affirmative defense, and the burden is on Bumble to prove that the claim is time-barred. United

States v. Cent. Gulf Lines, Inc., 974 F.2d 621, 629 (5th Cir. 1992). As Bumble admits, Match

has three years from when it “should have discovered” the misappropriation “exercising

reasonable diligence” in which to sue. Dkt. No. 23 at 20. “[T]he reasonableness of plaintiffs’

actions . . . is a fact question.” Dodson v. Hillcrest Sec., 95 F.3d 52, *8 (5th Cir. 1996)(unpub.).

       This case was filed three years and five days after the TechCrunch article on which

Bumble relies was published. Thus, the Court would have to find as a matter of law more than

simply that a reasonably diligent company may be generally “aware of industry media coverage

on new features its competitor introduced.” Dkt. No. 23 at 20. It would have to find that as a

matter of law all reasonably diligent companies must be aware of all internet media coverage,

including by the plethora of online media outlets, within five days of publication or posting.

Particularly at the pleadings stage, there is no basis for such a judicial finding. Dodson, 95 F.3d



9
  Pyramid Instrumentation & Electric Corp. v. Hebert, 2018 WL 1789325, at *3-4 (W.D. La. Mar.
14, 2018) is not on point. The Court there found that the guides and manuals were not entitled to
protection because they had been disclosed to customers—i.e., they were not secret. Id. at *3
(citing arguments that the manuals “are presumably shared with those customers”).

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at *8 (refusing to hold that “a reasonably diligent investor would certainly read a single

newspaper article on the day of its publication”); accord Briskin v. Ernst & Ernst, 589 F.2d

1363, 1367 (9th Cir. 1978) (“Knowledge of the paper’s contents could not be conclusively

imputed . . . unless a court can say as a matter of law that a reasonably prudent person will read

all trade papers on the date they are received.”)

          C.     The Court Should Not Strike Allegations Regarding Bumble’s Related Idea
                 Theft.

          Finally, citing to no case in support, Bumble strangely asks the Court to “strike” certain

information from Match’s pleading. Bumble’s desire for the material to be stricken is

understandable; paragraphs 201-208 of the FAC set forth additional facts highlighting another

instance in which Bumble stole a confidential Tinder business concept. But matters should be

stricken from pleadings only where they possess “no possible relation to the controversy.”

Augustus v. Bd. of Pub. Instruction of Escambia Cnty., Fla., 306 F.2d 862, 868 (5th Cir.1962).

In this case, Match alleges that Bumble intentionally infringes Match’s patents, trademarks, and

trade dress, and intentionally misappropriated trade secrets. Paragraphs 201-208 highlight

Bumble’s disrespect for the intellectual property created and developed at Tinder and owned by

Match. The narrative highlights Bumble’s lack of innovation and desire to freeride on Tinder

and Match’s work. It establishes motive to infringe, lack of mistake in implementing ideas

designed at Tinder, opportunity to acquire trade secrets, and other related points. Whether or not

Tinder asserts a claim based on these allegations, it is still relevant to the case and should remain

in the complaint.

IV.       CONCLUSION

          For the reasons stated above, the Court should deny Bumble’s motion.10


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     If the Court finds dismissal appropriate as to any claim, Match also requests leave to replead.
                                                    20
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   DATED: October 11, 2018                           Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was filed electronically with the

Clerk of Court using the CM/ECF system which will send notification of such filing to all counsel

registered as Filing Users on this 11th day of October, 2018.

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